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                                   STATEMENT OF FACTS

       I, Michael B. Miller, am a Special Agent with the Federal Bureau of Investigation. In my

duties as a Special Agent, I have conducted and/or assisted in many criminal investigations

involving the internet and digital evidence, including investigations involving computer intrusion,

public corruption, civil rights, wire fraud, money laundering, and other federal violations of the

United States Code. Currently, I am a tasked with investigating criminal activity in and around the

Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a

Government agency to engage in or supervise the prevention, detention, investigation, or

prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the

U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol

Police. Only authorized people with appropriate identification were allowed access inside the U.S.

Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of

the public.

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate were

meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint

session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice President

Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.




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       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00

p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows

and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and

assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.




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                      Deborah Lee’s Involvement in Events of January 6, 2021

        On January 7, 2021, the District of Columbia Metropolitan Police Department (MPD)

received an anonymous tip from an individual who reported that DEBORAH LEE, also known as

“DEBBIE LEE”, posted images and statements to her Facebook account which indicated LEE took

part in the breach of the U.S. Capitol on January 6, 2021. The tipster provided the following screen

captures: 1

                                     Screen Capture A




1
 The profile images and display names of the individuals whose communication with LEE is depicted in Screen
Capture B and C in this affidavit were redacted. The Government maintains the unredacted version of these screen
captures.


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       Screen Capture B                               Screen Capture C




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           In Screen Capture A, LEE’s post indicated that she was inside of the U.S. Capitol with

Facebook user “Michael Joseph.”

           On January 21, 2021, the FBI obtained records from Facebook pertaining to the LEE’s

Facebook account (account identifier Debbie.lee319247) and the account of Facebook user

“Michael Joseph.”

           According to records from Facebook, LEE’s Facebook account is in the name of “DEBBIE

LEE.” Telephone number xxx-xxx-7121 2 was listed as a “verified” cellular telephone number for

the account.

           Records from Facebook also stated that the Facebook account in the name of “Michael

Joseph” was associated with telephone number xxx-xxx-16902.

           According to records obtained through search warrants served on AT&T and Google, on

January 6, 2021, in and around the time of the incident at the U.S. Capitol, the cellular telephone

associated with telephone number xxx-xxx-1690, was identified as having used a cellular site

consistent with providing service to a geographic area that included the interior of the United

States Capitol. The telephone number was associated with Google email account

mikerusyn@gmail.com. The name of the user identified in Google’s records was “Mike Rusyn”.

The FBI determined “Mike Rusyn” was Michael Joseph Rusyn of Olyphant, Lackawanna County,

Pennsylvania.

           On February 17, 2021, Rusyn voluntarily spoke with an FBI Special Agent and

Task Force Officer in Scranton, Pennsylvania (collectively, “the Agents”). Rusyn told the

Agents that he was at the United States Capitol on January 6, 2021, and described being part of a


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    The full telephone numbers were redacted from this affidavit, but are known to law enforcement.


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crowd that gathered outside of the Capitol. Rusyn said some people in the crowd were armed with

weapons such as broom sticks with a nail or hook affixed to the ends. Rusyn told the agents he

was pushed inside the Capitol and denied making a conscious decision to go inside.

       On April 8, 2021, Rusyn was arrested pursuant to a criminal complaint issued in the District

of Columbia for violations of 18 U.S.C. § 1752(a)(1) (Knowingly Entering or Remaining in any

Restricted Building or Grounds Without Lawful Authority), 18 U.S.C. § 1752(a)(2) (Disorderly

and Disruptive Conduct in a Restricted Building or Grounds), 40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building), and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building). Rusyn’s court case remains pending.

       After Rusyn’s arrest, the FBI reviewed surveillance footage from the U.S. Capitol to

determine whether Rusyn was identifiable in the surveillance footage. Through this review, the

FBI observed Rusyn and a female subject wearing a multi-colored jacket and a camouflage-style

“beanie” hat, later identified as LEE, inside the U.S. Capitol. The two were observed through

numerous surveillance cameras inside the U.S. Capitol. At one point in the footage, they were

observed as members of a crowd that forcefully pushed back a line of uniformed police officers in

the vicinity of the Chamber of the House of Representatives. Neither Rusyn nor LEE were

observed making physical contact with the police officers, however they were part of the group

that pushed the line of officers backwards in order to occupy additional space inside the Capitol.

       The surveillance footage also depicted LEE holding an apparent cellular telephone inside

a purple case in a manner consistent with taking photographs or video recordings.

       The FBI reviewed publicly available videos posted to the internet which captured events

inside the U.S. Capitol. One such video depicted Rusyn numerous times in the vicinity of the

Chamber of the House of Representatives. In many segments of the video, LEE is observed with



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Rusyn wearing a multi-colored jacket, a camouflage-style “beanie” hat, and holding a cellular

telephone in a purple case.




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       A search warrant pertaining to Rusyn’s cellular telephone was issued on April 5, 2021, and

executed on April 8, 2021, in the Middle District of Pennsylvania. The FBI conducted a search of

Rusyn’s cellular telephone pursuant to the search warrant. As a result of that search, the FBI

located the name “DEBBIE LEE” with telephone number xxx-xxx-7121 saved as a contact in

Rusyn’s cellular telephone.

       Further analysis of Rusyn’s cellular telephone revealed two videos that were recorded on

January 6, 2021. The videos were recorded outside of the U.S. Capitol and appear to depict a large

crowd, including LEE, outside of the Capitol. LEE is observed wearing a multi-colored jacket,

camouflage-style “beanie” hat, and holding a cellular telephone in a purple case which is consistent

with her appearance in the U.S. Capitol surveillance footage. The following screen captures

depicting LEE were taken from one of the videos saved in Rusyn’s cellular telephone:




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        On July 1, 2021, a search warrant was issued in the District of Columbia to review the

contents of LEE’s Facebook account (account identifier Debbie.lee319247). The user-supplied

date of birth matched LEE’s known date of birth. The “verified” telephone number listed on the

account was xxx-xxx-7121. On January 6, 2021, the Facebook user uploaded a video which

depicted a crowd within the United States Capitol. The video was narrated by an apparent female

voice who said, in relevant part, “I’m live. I’m at the Capitol doors. We’re all the way inside the

building. We’re trying to get in. We got the glass broken…” Additionally, LEE’s Facebook

account was used to send private messages to other Facebook users which stated in relevant part,

“I broke into congress [sic] and there were guns on us” and “It’s our house. Our capital [sic]. We

had every right to occupy”.

        In an attempt to obtain proper identification, an FBI Special Agent presented a picture of

LEE wearing the multi-colored jacket to one of LEE’s known associates. The known associate told

the Special Agent that the picture likely depicted LEE, but they were not certain. Thereafter, on

July 22, 2021, an FBI Special Agent and an FBI Task Force Officer (collectively, “the Agents”)

met LEE at her residence in Olyphant, Pennsylvania. Upon seeing LEE, the Agents were able to

positively identify LEE as the woman observed wearing the multi-colored jacket described in this

affidavit.

        Based on the foregoing, your affiant submits that there is probable cause to believe that

LEE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or

remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,

and with intent to impede or disrupt the orderly conduct of Government business or official

functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted

building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct



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of Government business or official functions; or attempt or conspire to do so. For purposes of

Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise

restricted area of a building or grounds where the President or other person protected by the Secret

Service, including the Vice President, is or will be temporarily visiting; or any building or grounds

so restricted in conjunction with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that LEE violated 40 U.S.C.

§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D) utter loud,

threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the

Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress, or the orderly conduct in that

building of a hearing before, or any deliberations of, a committee of Congress or either House of

Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Michael B. Miller
                                                      Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of August, 2021.
                                                                                 2021.08.05
                                                                                 20:53:54 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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